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                        UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF GEORGIA
                             BRUNSWICK DIVISION

__________________________________________
UNITED STATES OF AMERICA,                 )
                                           )
                  Plaintiff,               )
                                           )            Civil Action No. 2:18-cv-62-RSB-BWC
            v.                             )
                                           )
HERCULES LLC,                             )
                                           )
                  Defendant.               )
__________________________________________)

                                      STATUS REPORT

       On May 16, 2018, the United States filed a Complaint and a lodged a proposed Consent

Decree concerning the Terry Creek Dredge Spoil Areas/Hercules Outfall Site (“Site”) in

Brunswick, Georgia. In the proposed Consent Decree, Hercules LLC agreed to implement the

interim remedy selected by the U.S. Environmental Protection Agency (EPA) for the outfall, to

reimburse the EPA $153,009.48 in past response costs at the Site, and to pay future response

costs incurred by the United States in connection with this proposed Consent Decree. Doc. # 3-1.

In accordance with Section 122(d)(2) of CERCLA, 42 U.S.C. § 9622(d)(2), 28 C.F.R. § 50.7, a

30-day public comment period on the proposed Consent Decree was commenced by the notice

published in the Federal Register on May 23, 2018. 83 Fed. Reg. 23937 (May 23, 2018). In

response to several requests by members of the public to extend the comment period in this

matter for an additional 60 days, the United States extended the public comment period an

additional 60 days, to August 21, 2018. 83 Fed. Reg. 27799 (June 14, 2018). To allow for

additional community input and feedback, the public comment period was then extended another

30 days until September 20, 2018, thereby providing a 120-day comment period in total. 83 Fed.



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Reg. 40788 (August 16, 2018). The United States hereby provides the following report on the

status of this matter.

        During the comment period, the United States received approximately one hundred

comments. The United States hereby notifies the Court it is presently reviewing this unusually

high volume of comments and, upon completion of the review, will determine its response. If,

after reviewing the public comments, the United States concludes that the Consent Decree should

be entered, the United States will seek the entry of the Consent Decree as an order of the Court.

        Respectfully submitted this 11th day of December 2018.


                                             /s Valerie K. Mann
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                                             OF AMERICA




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